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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 DYLAN TOKAR,

                Plaintiff,
                                                     Civil Action No. 16-cv-2410 (RC)
        v.

 UNITED STATES DEPARTMENT OF
 JUSTICE,

                Defendant.




       PLAINTIFF’S CONSENT MOTION FOR EXTENSION OF TIME TO FILE
                MOTION FOR ATTORNEYS’ FEES AND COSTS

       Pursuant to Fed. R. Civ. P. 54, Plaintiff Dylan Tokar hereby moves for the entry of an

order extending the deadline to file a motion for an award of attorneys’ fees and costs in this

matter pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552(a)(4)(E)(i).

       Fed. R. Civ. P. 54(d)(2)(B) provides that a motion for an award of attorneys’ fees must

ordinarily be made within 14 days of the entry of judgment. However, the Court may extend that

deadline. See Fed. R. Civ. P. 54(d)(2)(B) (setting 14-day deadline “[u]nless … a court order

provides otherwise[.]”).

       Plaintiff anticipates applying for an award of costs and attorneys’ fees in this action

pursuant to FOIA. See 5 U.S.C. § 552(a)(4)(E)(i). In order to facilitate settlement negotiations

and possibly avoid unnecessary litigation over attorneys’ fees, Plaintiff seeks a short 30-day

extension of Rule 54(d)(2)(B)’s deadline. Plaintiff has conferred with counsel for Defendant

United States Department of Justice regarding the relief sought by this motion, and Defendant

does not oppose a 30-day extension.



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       Wherefore, the motion should be granted. The text of a proposed order is filed herewith.

Dated: April 5, 2017
                                            Respectfully submitted,

                                            /s/ Bruce D. Brown
                                            Bruce D. Brown
                                            DC Bar No. 457317
                                            Jennifer A. Nelson
                                            THE REPORTERS COMMITTEE FOR
                                            FREEDOM OF THE PRESS
                                            1156 15th St. NW, Suite 1250
                                            Washington, D.C. 20005
                                            Phone: 202.795.9300
                                            Facsimile: 202.795.9310
                                            E-mail: bbrown@rcfp.org
                                            E-mail: jnelson@rcfp.org

                                            Counsel for Plaintiff Dylan Tokar




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